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 IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF TEXAS SHERMAN DIVISION




 NELSON WILLIS,
                                                                                          FILED
                                                                                              JUN 2 4 2024
 Plaintiff,
                                                                                          Clerk, U.S. District Court
                                                                                               Texas Eastern



 v.




 ADAM M. ARON, Defendant.




 §§§§§§§§§



 Case No.: 4:23-CV-732-ALM-KPJ




 PLAINTIFF S OBJECTION TO DEFENDANT ADAM M. ARON S RESPONSE (51) TO PLAINTIFF'S MOTION TO
 MOVE CASE DIRECTLY TO DISCOVERY PHASE (42)



 THE HONORABLE DISTRICT JUDGE AMOS LOUIS MAZZANT, III




 Your Honor,




 Plaintiff humbly thanks this court for its dedication to justice and integrity.




 Plaintiff states, let the record reflect that opposin counsel has, for the second time in two filings,
 shifted from portraying Plaintiff as a harassing cyber stalker to no characterizing him as a disgruntled
 shareholder. In two court cases. Plaintiff has only been declared a harassing cyber stalker up until the
 opposing counsel's last filing and this current filing today. It is important to note that Plaintiff's emails
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  can easily be aptly portrayed and characterized as expressions of righteous an er from a concerned
  shareholder.




  Introduction:




  Defendant Adam M. Aron ( Aron ) has filed a response opposing Plaintiff s Motion to Move Case
  Directly to Discovery Phase. Plaintiff objects to this response and provides the following arguments and
  supporting Texas case law to demonstrate why his motion should be granted. Additionally, Plaintiff
  seeks to correct the factual inaccuracies presented in Defendant s response.




  Law and Argument:




 A. Plaintiff's Motion is Not Premature:




  Defendant asserts that Plaintiff's Motion is premature because Plaintiff has not attempted to obtain the
 requested materials from the SEC via appropriate discovery rules. However, this is incorrect. Under
 Texas law, and pursuant to Nixon v. Mr. Property Management Co., 690 S.W.2d 546, 549 (Tex. 1985),
 discovery should be liberally construed to allow the litigant access to all relevant and material
 information necessary to establish their case. Plaintiff is merely seeking access to information that is
 crucial for the preparation of his case.




  B. Plaintiff's Motion Seeks Relevant Materials:




 Defendant argues that the materials requested from the SEC are outside the permissible scope of
 discovery. However, under Texas law, relevancy is broadly construed. As stated in In re National Lloyds
 Insurance Co., 449 S.W.3d 486, 488 (Tex. 2014), discovery is permissible if it appears reasonably
 calculated to lead to the discovery of admissible evidence. The requested materials are relevant to
 Plaintiff's claims and counter arguments, and their production is necessary for a fair adjudication of this
 case. Notably, Plaintiff has already filed a FOIA response from the SEC indicating an investigation into
 AMC Entertainment Holdings, Inc. This establishes the relevance of the requested documents to the
 case at hand.
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  C. Plaintiff s Motion Seeks Materials Not Solely in His Possession:




  Defendant claims that Plaintiff already has the requested materials in his possession. However, the
  requested communications between Plaintiff and the SEC may contain additional context, notes, or
  internal communications that Plaintiff does not possess. As established in In re Colonial Pipeline Co., 968
  S.W.2d 938, 942 (Tex. 1998), a party is entitled to discovery of documents in the possession of a third
  party if those documents are relevant and necessary for the litigation. The SEC s responses and internal
  documentation re arding Plaintiff s communications are crucial to understanding the full context and
  potential impacts on the case.




  D. Clarification of FOIA Request:




  Defendant incorrectly states that Plaintiff submitted the FOIA request. In reality, an associate assisting in
  the preparation of the case, Ethan Leibovitz, submitted the FOIA request in December 2023. The SEC's
  response, which was received on May 2, 2024, confirmed an ongoing investigation into AMC
  Entertainment Holdings, Inc. Defendant's failure to accurately review and represent the FOIA request
  demonstrates a lack of diligence and a misrepresentation of the facts. This further underscores the
  necessity of moving this case directly to the discovery phase to ensure all relevant information is
  accurately and fairly assessed.




  Conclusion:




 For these reasons. Plaintiff respectfully requests that the Court grant his Motion to Move Case Directly
 to Discovery Phase. The materials sought from the SEC are highly relevant to the case, necessary for a
 fair adjudication, and not solely in Plaintiff's possession. Plaintiff's request for discovery is neither
 premature nor outside the permissible scope of discovery, as established by relevant Texas case law and
 the facts of this case.




  Dated: June 24, 2024

  Respe tfully submitted,




                       Plaintiff
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  United States District Court

  Eastern District of Texas, Sherman Division




  NELSON WILLIS,

  Plaintiff,




  v.




  ADAM M. ARON,

  Defendant




  Case No.: 4:23-CV-732-ALM-KPJ




  Certificate of Service




  I, Nelson Willis, ereby certify that on June 24, 2024, a true and correct copy of the foregoing document
  was, by filing with the Clerk Of The Court, sent via electronically mail to the parties that are registered
  or otherwise entitled to receive electronic notices in this case pursuant to the Electronic Filing
  Procedures in this District.




   elson Willis

  Pro Se Litigant
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   IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF TEXAS
   SHERMAN DIVISION

   NELSON WILLIS,
   Plaintiff,



   v.




   ADAM M. ARON,
   Defendant

   §§§§§§§§§


   Case No.: 4:23-C -732-ALM-KPJ


   June 24, 2024

   PROPOSED O DER GRA TING PLAINTIFF'S OBJECTION TO DEFENDANT ADAM . ARON'S RESPONSE(Sl)
   TO PLAINTIFF'S MOTION TO MOVE CASE DIRECTLY TO DISCOVERY PHASE (42)

   Before the Court is the Plaintiff's Objection to Defendant Adam M. Aron's esponse to Plaintiff's Motion
   to Move Case Directly to Discovery Phase. Having considered the Plaintiff s motion, the Defendant's
   response, and the applicable law, the Court finds that the Plaintiff's motion should be GRANTED.

        ORDER

   It is hereby ORDERED that Plaintiff's Motion to Move Case Directly to Discovery Phase is GRANTED for
   the following reasons:

   1. """Introduction:
    - Plaintiff objects to Defendant's response opposing the Motion to ove Case Directly to Discovery
   Phase and provides valid arguments supported by Texas case law.

   2. **Plaintiff's Motion is Not Premature:**
    - The Court finds that Plaintiff's motion is not premature. Pursuant to *Nixon v. Mr. Property
   Management Co., 690 S.W.2d 546, 549 (Tex. 1985)*, discovery should be liberally construed to allow
   access to all relevant and material information necessary to establish Plaintiff's case. Plaintiff seeks
   access to crucial information for case preparation.

   3. **Plaintiff's Motion Seeks Relevant Materials:**
     - The Court acknowledges that the materials requested from the SEC are relevant and necessary for
   the fair adjudication of this case. Under *ln re National Lloyds Insurance Co., 449 S.W.3d 486, 488 (Tex.
   2014)*, discovery is permissible if it appears reasonably calculated to lead to the discovery of admissible
   evidence. The Plaintiff's FOIA response from the SEC indicates an investigation into AMC Entertainment
   Holdings, Inc., further establishing the relevance of the requested documents.
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   4.   Plaintiff s Motion Seeks Materials Not Solely in His Possession:
     - The Court finds that the requested communications between Plaintiff and the SEC may contain
   additional context or internal communications not in Plaintiff's possession. As established in *ln re
   Colonial Pipeline Co., 968 S.W.2d 938, 942 (Tex. 1998)*, a party is entitled to discovery of documents in
   the possession of a third party if those documents are relevant and necessary for the litigation.

   * Conclusion:**


   For these reasons, the Court GRANTS Plaintiff's Motion to ove Case Directly to Discovery Phase. The
   materials sou ht from the SEC are relevant, necessary for a fair adjudication, and not solely in Plaintiff's
   possession. The Court finds that Plaintiff s request for discovery is neither premature nor outside the
   permissible scope of discovery.

   IT IS SO ORDERED.

   Dated: , 2024




   Hon. Amos Louis Mazzant, III
   United States District Judge
   Eastern District of Texas
